                Case 22-11923-pmm                       Doc 22         Filed 10/11/22 Entered 10/11/22 14:27:51      Desc Main
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                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                  IN RE: Joseph V. Sweeney Jr.                                               CHAPTER 7
                                Linda P. Sweeney a/k/a Linda
                  Porr-Sweeney                                                               BKY. NO. 22-11923 PMM
                                              Debtor(s)


                                         ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                           Kindly enter my appearance on behalf of M&T Bank and index same on the master
                    mailing list.


                                                                                        Respectfully submitted,


                                                                                /s/${s:1:y:_________________________}
                                                                                 Brian Nicholas
                                                                                 07 Oct 2022, 16:27:13, EDT



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